Case 2:18-cr-00036-LGW-BWC Document 41 Filed 11/06/18 Page 1of3

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION
UNITED STATES OF AMERICA, : CASE NO.; 2:18-CR-36-LGW
VS.
JOHNATHAN LAMAR MANET,

Defendant.

MOTION TO CONTINUE THE MOTIONS HEARING
COMES NOW, Johnathan Lamar Manet, the Defendant in the above-styled Indictment,

who through counsel, files his Motion to Continue the Motions Hearing and shows the Court, as

follows:
i. The motions hearing in this case is set for November 13, 2018.
2. At present, Defendant is considering a plea offer proposed by the Government.
3. Defendant requires additional time to consider said offer.
4, Accordingly, in the interest of judicial economy, Defendant moves this Court for

an Order continuing the motions hearing until such time as the Court deems appropriate, and
resetting the deadline to submit the list of unresolved motions until 5 days prior to said
hearing.

5. In addition, Counsel for the Defendant has the following conflicts with other

Courts on November 13, 2018:

a) Jury selection in the Superior Court of Ware County;

 
Case 2:18-cr-00036-LGW-BWC Document 41 Filed 11/06/18 Page 2 of 3

b) A Mation for Clarification before Judge Kelley of the ORDER he entered in the
Tax Appeai Case of Glynn County, Georgia, v. Atiantic Southeast Enterprises in
the Supertor Court of Glynn County;
c) A bench trial before Judge Kelley in the case of Noser Investment Group v.
Richard Cureton, Jr., v. Jeffrey Noser; and,
d) A trial in the Magistrate Court of Mcintosh County before Chief Magistrate
Harold Webster, Ill.

6. A continuance of the motions hearing has not been previously sought.

Respectfully submitted, this 6th day of November, 2018.

ALAN DAVID TUCKER, ESQ, P.C.

 

 

Alan David Tucker, Es”
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Case 2:18-cr-00036-LGW-BWC Document 41 Filed 11/06/18 Page 3 of 3

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CASE NO.: 2:18-CR-36-LGW

CERTIFICATE OF SERVICE

This is to certify that | have this day served all parties in this case in accordance with the

directives from the Court Notice of Electronic Filing ("NEF") which was generated as a result of

electronic filing.

This 6th day of November, 2018.

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Respectfully submitted,

ALAN DAVID TUCKER, ESQ, P.C.

   

Nir David Tucker, cod? (ee

Attorney for Defendant
Georgia Bar No. 717559

 
